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                                                    Elana Nightingale     1 of 20
                                                                      Dawson
                                                                       555 Eleventh Street, N.W., Suite 1000
                                                                       Washington, D.C. 20004-1304
                                                                       Tel: +1.202.637.2200 Fax: +1.202.637.2201
                                                                       elana.nightingaledawson@lw.com
June 18, 2024

VIA ECF

The Honorable Robert M. Illman
United States District Court for the Northern District of California
Eureka-McKinleyville Courthouse
3140 Boeing Ave. McKinleyville, CA 95519

Re: In re OpenAI ChatGPT Litigation, Master File No. 23-cv-3223-AMO

Dear Judge Illman:

Pursuant to the Court’s standing order, the parties hereby submit this joint discovery letter brief
concerning Defendant OpenAI OpCo, LLC’s Request for Production No. 9 (“RFP 9”). Lead
counsel for the parties met and conferred in good faith via video conference regarding this Request
on June 11, 2024, and were unable to resolve their dispute.

OpenAI’s Statement. RFP 9 seeks “All non-privileged Documents and Communications relating
to Your investigation of the claims alleged in the Complaint.” OpenAI narrowed the request to
(a) the OpenAI account information for individuals who used ChatGPT to investigate Plaintiffs’
claims; and (b) the prompts and outputs for Plaintiffs’ testing of ChatGPT in connection with their
pre-suit ChatGPT testing, including prompts and outputs that did not reproduce or summarize
Plaintiffs’ works or otherwise support Plaintiffs’ claims, along with documentation of Plaintiffs’
testing process. OpenAI is seeking this discovery because Plaintiffs made categorical allegations
regarding how ChatGPT allegedly responded to various types of inquiries. Plaintiffs made those
allegations based on their own “interrogation” of ChatGPT. But rather than disclose the entirety
of Plaintiffs’ interrogation, Plaintiffs offered up only their preferred, cherry-picked results. See
Dkt. 120, Ex. B. The discovery OpenAI seeks is necessary to test the allegations on which
Plaintiffs have chosen to rest their Complaint. See Dkt. 120 ¶¶ 46–51, 62, 70, Ex. B. Plaintiffs
refuse to respond in full based on a claim of work-product protection, offering to produce only
“full threads of the prompts and outputs” that led to the examples in Exhibit B to the Complaint.

Plaintiffs waived any arguable work-product protection over the account and prompt-and-output
information in two ways: First, Plaintiffs “reveal[ed] or plac[ed] the work product at issue during
the course of [this] litigation” by including in the Amended Complaint allegations regarding how
ChatGPT responded to Plaintiffs’ prompts made from those accounts. United States v. Sanmina
Corp., 968 F.3d 1107, 1119 (9th Cir. 2020) (citation omitted). Second, Plaintiffs revealed the
information “to an adversary in litigation” or at the least “substantially increased the opportunities”
for OpenAI to “obtain the information” by disclosing the allegedly protected information to
OpenAI in ChatGPT. Id. As to the former, Plaintiffs included in their Complaint an entire section
on “interrogating the OpenAI language models using ChatGPT.” Dkt. 120 at 8. Plaintiffs chose
to detail the alleged results of their own interrogation of ChatGPT, claiming, for example, “[i]f a
user prompts ChatGPT to summarize a copyrighted book, it will do so.” Id. ¶ 48. Plaintiffs allege
that, “[w]hen ChatGPT was prompted to summarize books written by each of the Plaintiffs, it
generated very accurate summaries.” Id. ¶ 51; see also id. Ex. B. Plaintiffs disclosed not just the
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fact that they tested ChatGPT, but the alleged testing results. See id. ¶¶ 46–51, 62, 70.

The Ninth Circuit has squarely rejected the tactic Plaintiffs seek to employ because, as a matter of
“fairness,” a party may not use “the privilege as both a shield and a sword.” Bittaker v. Woodford,
331 F.3d 715, 719 (9th Cir. 2003). “In practical terms, this means that parties in litigation may not
abuse the privilege by asserting claims the opposing party cannot adequately dispute unless it has
access to the privileged materials.” Id. That is what Plaintiffs seek to do here. Plaintiffs allege,
for example, that “[w]hen ChatGPT was prompted to summarize books written by each of the
Plaintiffs, it generated very accurate summaries.” Dkt. 120 ¶ 51. All OpenAI has to test the
veracity of that claim is Exhibit B to the Complaint, which contains 36 alleged test results cherry
picked by Plaintiffs. That is so even though Plaintiffs now seemingly concede that, despite their
categorical representation that ChatGPT allegedly generated accurate summaries when prompted,
ChatGPT did not always do so. That Plaintiffs had to submit many more prompts, and received
many more outputs, beyond those in Exhibit B, directly undercuts Plaintiffs’ allegations regarding
what ChatGPT does when prompted, see id. ¶¶ 48, 51, making such evidence highly probative.

This case is analogous to Lexington Luminance LLC v. Feit Elec. Co., Inc., No. 18-10513, 2020
WL 10052401 (C.D. Cal. June 12, 2020), where the plaintiff sued for patent infringement based
on the testing of 44 products, but included in the Complaint testing results for “only one of the
forty-four Accused Products.” Id. at *4. The court concluded that, by disclosing results for one
product, the plaintiff put the results “squarely ‘at issue’ in the judicial arena, and thus, waived work
product protection as to the results for all 44 products. Id. So too here. Plaintiffs supported their
claims with selective results from their ChatGPT testing, dedicating an entire section of the
Complaint to their “interrogation” of ChatGPT, thereby putting at issue all of their test results.
Plaintiffs’ waiver extends to the entirety of their ChatGPT testing—the “subject matter” of the
“interrogation” they chose to put at issue. See id. *4, *11; cf. Theranos, Inc. v. Fuisz Techs., Ltd.,
No. 11-cv-5236, 2013 WL 2153276, at *4 (N.D. Cal. May 16, 2013) (no privilege where defendant
“may have cherry-picked selective communications that are favorable to him”).

Plaintiffs argue no waiver occurred because the Complaint’s allegations are not “evidence upon
which the jury will be asked to rely,” and their testing results—that is, the very results on which
they based and defended their claim—are not “particularly relevant.” See Dkt. 120 ¶¶ 46–51, 62,
70; Dkt. 48 at 8 (opposing dismissal on the basis that “[OpenAI’s] LLMs have been used to
generate outputs that do nothing more than recombine expressive information extracted from the
training data.”). While Plaintiffs may not think the testing results are “particularly relevant”—
especially those that don’t help them, the results are directly relevant because Plaintiffs chose to
pursue a claim based on ChatGPT’s alleged regurgitation of Plaintiffs’ works. As the court
recognized in Moeller v. Taco Bell Corporation, it is always the case when a party asserts privilege
over a document that “one party is withholding and thus does not intend to introduce” the at-issue
document. No. 02-cv-5849, 2009 WL 10710495, at *4 (N.D. Cal. Oct. 6, 2009). “Waiver is
justified precisely because of the unfairness” that results from such withholding. See id.

Second, Plaintiffs waived any arguable work-product protection over OpenAI account
information, as well as prompt and output information, by voluntarily disclosing that information
to their “adversary in litigation.” Sanmina, 968 F.3d at 1121. Where, as here, a party discloses
work product “to an adversary in litigation or substantially increased the opportunity for potential

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adversaries to obtain the information,” work product protection is waived. Id. Plaintiffs resist this
conclusion, contending that no disclosure to “an adversary” occurred because OpenAI’s Privacy
Policy led Plaintiffs’ counsel, Matthew Butterick, to understand that “any prompts input in
ChatGPT” would be “private.” Yet Mr. Butterick’s declaration says nothing about OpenAI’s
Privacy Policy. In any event, Plaintiffs purposely misread that Policy. The Policy outlines
OpenAI’s practices with respect to user privacy and its approach to keeping user personal
information secure. It explains how Personal Information—that is, “information that alone or in
combination with other information in [OpenAI’s] possession could be used to identify” a user—
may be used, for example, “[t]o comply with legal obligations and legal process” and “to protect
[the] rights, privacy, safety, or property” of OpenAI, users, and others. See Ex. B § 2; see also id.
§ 3 (OpenAI “may provide” Personal Information “to protect and defend [OpenAI’s] rights or
property” and “to protect against legal liability”). And it makes clear that it covers Personal
Information “included in the input, file uploads, or feedback” provided to OpenAI products. Id.1
The Privacy Policy thus informed Mr. Butterick that information in ChatGPT inputs—including
inputs used to manipulate ChatGPT to attempt to create outputs on which Plaintiffs could then sue
OpenAI—could be used by OpenAI to defend itself against such a lawsuit. The Policy defeats,
not bolsters, Plaintiffs’ work-product claim. See Sanmina, 968 F.3d at 1121.

Finally, Plaintiffs waived any alleged work product protection over documents showing the
process they used to “interrogat[e]” ChatGPT because it “ought in fairness to be considered
together” with their testing results, Fed. R. Evid. 502(a), and is among the “materials that [OpenAI]
might need to effectively contest or impeach [Plaintiffs’] claim.” See Moeller, 2009 WL
10710495, at *4 (citation omitted). For example, the “custom instructions” feature allows users to
“add preferences or requirements” for “ChatGPT to consider when generating its responses.”
https://openai.com/index/custom-instructions-for-chatgpt/. OpenAI needs this discovery to test
Plaintiffs’ allegations regarding ChatGPT’s behavior in response to the “interrogation” Plaintiffs
chose to put at issue. See Moeller, 2009 WL 10710495, at *4; Fed. R. Evid. 502(a).

Plaintiffs’ Statement. Defendants appear to concede the material they seek is protected work
product because it was obtained by lawyers in connection with this litigation. Assuming, arguendo,
there was a waiver, it is limited to the material disclosed. Thus, as a compromise, Plaintiffs agreed
to produce full threads of the prompts and outputs that produced the factual matter set forth in the
exhibits included in the FAC. OpenAI is still unsatisfied. It seeks wide-ranging discovery into
Plaintiffs’ counsels’ investigatory files, regardless of whether the prompts and outputs were used
in the complaint, and regardless of whether the prompts and outputs “support Plaintiffs’ claims.”
There is no dispute that the materials at issue are prelitigation materials created by Plaintiffs’
counsel in anticipation of litigation and, therefore, protected attorney work product. Defendants
do not only seek factual information gathered by Plaintiffs’ lawyers which supports their claims.
Defendants also seek “prompts and outputs that did not reproduce or summarize Plaintiffs’ works
or otherwise support Plaintiffs’ claims.” (Emphasis added.) OpenAI plainly seeks the thoughts and
analysis conducted by Plaintiffs’ lawyers in preparation of the litigation. OpenAI has not explained
how it cannot develop this evidence without invading the protection for this material or, further,

1
 Plaintiffs now also contend that “contents of input or output” do not qualify under the Policy as
Personal Information. Supra at 5 n.2. But if that is the case, the Privacy Policy is irrelevant
because, by its terms, it addresses what OpenAI does “with respect to Personal Information.”
                                                 3
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how it cannot do so “without undue hardship.” See Garcia v. City of El Centro, 214 F.R.D. 587,
591 (S.D. Cal. 2003); Holmgren v. State Farm Mut. Auto. Ins. Co., 976 F. 2d. 573, 577 (9th Cir.
1992) (holding opinion work product is only discoverable if it is “at issue in a case or the need for
the material is compelling.”). Such information is not relevant. Even if it were, OpenAI authored
and controls the generative AI models at issue and can simply run prompts itself. It does not need
Plaintiffs’ attorney work product to do so.
The subject materials are protected opinion work product. There can be no legitimate dispute that
the material at issue was created by Plaintiffs’ counsel in anticipation of litigation. Ex. A, Butterick
Decl. ⁋⁋ 2-3. This material is basic attorney work product under Fed. R. Civ. P. 26(b)(3)(A). The
only question is whether that work product was waived.
There has been no waiver. Factual pleading assertions confirming the basis of a claim do not
constitute waiver. As Plaintiffs have explained to OpenAI (and as OpenAI omits), even if the
inclusion of some prompts and outputs in the FAC operated as a waiver (it does not), it is settled
law that any waiver of work product should be “limited to the subject matter of the disclosure that
gave rise to the waiver,” not to all of the prompts and outputs. Lexington Luminance LLC v. Feit
Elec. Co., Inc., 2020 WL 10052401, at *11 (C.D. Cal. June 12, 2020). Plaintiffs allege OpenAI
copied Plaintiffs’ Asserted Works to train their language models. To support this claim, the FAC
contains narrow specific allegations and exhibits showing that interrogation of ChatGPT resulted
in ChatGPT emitting unauthorized summaries of Plaintiffs’ Asserted Works. FAC ⁋ 50. These
facts were integral to Plaintiffs satisfying their pleading requirements. Their disclosure does not
constitute waiver. See, e.g., Bristol-Meyers Co. v. Sigma Chem. Co., 1988 WL 147409, at *4 (D.
Del. 1988) (disclosure of affidavit setting forth pre-infringement suit investigation did not
constitute waiver where it was “limited to demonstrating that the plaintiff had a good faith basis .
. . for instituting th[e] action[.]”).
Additionally, work product protection has not been waived because the prompts and outputs at
issue are not evidence upon which the jury will be asked to rely on. See Ferruza v. MTI Tech.,
2002 WL 32344347, at *5 (C.D. Cal. June 13, 2002) (“The fact-finder in this case will not be
invited to rely upon the work product information. Thus, Plaintiffs have not waived any work
product protection.”). Moreover, the fact that ChatGPT did not always produce a summary of
Plaintiffs’ work when prompted is immaterial because the summaries were simply used to
plausibly allege that Defendants trained their products on Plaintiffs’ Asserted Works. “Negative”
test results are not relevant for the same reason the “positive” test results are not particularly
relevant at this stage. Plaintiffs will rely on other, more concrete evidence obtained through
discovery to identify the literary works OpenAI used to train their products.
The law requires plaintiffs to have a good faith basis for their claims and to investigate the
supporting facts before bringing those claims. The work product doctrine protects the adversarial
process by shielding these investigatory efforts from discovery. See In re Grand Jury, 23 F.4th
1088, 1093 (9th Cir. 2021) (“The work-product doctrine upholds the fairness of the adversarial
process by allowing litigators to creatively develop legal theories and strategies—without their
adversaries invoking the discovery process to pry into the litigators’ minds and free-ride off
them.”) (citation omitted). Adversaries should not be able to piggyback on this and obtain evidence
by invading this process. See Admiral Ins. Co. v. United States Dist. Ct., 881 F.2d 1486, 1494 (9th
Cir. 1989) (the primary purpose of the work product doctrine is to “prevent exploitation of a party’s
efforts in preparing for litigation.”). Indeed, “the purpose of the work-product protection is to

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safeguard the efforts of the attorney on behalf of his [or her] client by preventing an adversary
counsel from obtaining a free ride on the work of the attorney.” Rampton v. Anthem Blue Cross
Life & Health Ins. Co., 2024 WL 332889, at *3 (N.D. Cal. Jan. 29, 2024). If this protection were
not available, parties would be disinclined or prevented from receiving competent representation.
There has been no voluntary disclosure of work product. Defendants attempt to invade the work
product protection on the grounds that the disclosures were voluntary. First, even if one were to
assume that the allegations regarding the investigation set forth in the complaint were waived, that
does not apply to materials that were not disclosed. OpenAI relies on Lexington, which supports
the proposition that any waiver is limited to the facts disclosed. The court found “waiver limited
to the subject matter of the disclosure that gave rise to the waiver.” Id. at *11 (“[T]he Court takes
a narrow view of the scope of the work product waiver and does not find a wholesale waiver of
Lexington’s work product protections.”). Voluntary disclosure of work product may occur where
such disclosure is made to an adversary in litigation or where the disclosure is made in a manner
that substantially increases the opportunities for potential adversaries to obtain the work product.
In re Telescopes Antitrust Litig., 2022 WL 1693677, at *3 (N.D. Cal. May 26, 2022) (citation
omitted). That counsel included allegations regarding facts showing a good faith basis for a claim
for pleading purposes does not constitute a broader waiver of other aspects of any investigation.
Apparently, OpenAI also claims that simply by using the OpenAI chatbot, Plaintiffs’ attorney
waived any protection for its investigation. Such a holding would produce the absurd result that
Plaintiffs could not investigate their claim without waiving protection. The information is
exclusively accessible through OpenAI’s website and applications. Plaintiffs’ counsel had no
choice but to use ChatGPT as part of their investigation. This is not like Sanmina, where Sanmina
chose to disclose attorney work product where it did not have to. Sanmina, at 1125 (“Sanmina
could have chosen to substantiate the deduction with other documents.”).
Further, OpenAI avers that by disclosing allegedly protected material to OpenAI using ChatGPT,
Plaintiff waived any work product protection. But this contravenes OpenAI’s own privacy policy.
See Ex. B, Open AI Privacy Policy preamble; §§ 2-3. When Plaintiffs’ counsel conducted the
investigation into OpenAI’s infringement, counsel understood any prompts input in ChatGPT to
be private. Id., Ex. A, Butterick Decl. ⁋ 3. “Personal Information,” as defined in OpenAI’s Privacy
Policy, does not include input and outputs generated by users. Ex. B Privacy Policy § 1. OpenAI
offers the misleading statement that “[t]he Policy also makes clear that it applies to ‘[i]nformation
that is included in the input, file uploads, or feedback,’” but it conveniently omits the fact that
sentence is tied to “Personal Information that is included in the input, file uploads, or feedback.”
(Emphasis added.) Personal Information is a defined term that cannot be reasonably construed to
include the contents of an input or output.2 Furthermore, finding a broad subject matter waiver
here could effectively destroy the work product immunity for lawyers who wish to use ChatGPT
to investigate other legal issues potentially implicated by this nascent technology.
OpenAI runs roughshod over the work product doctrine. It demands, without limitation, any and
all prompts that Plaintiffs’ counsel ever input into ChatGPT as part of Plaintiffs’ pre-lawsuit
investigation. But this information is not relevant. And OpenAI can obtain the material itself—it
can interrogate ChatGPT for itself. Nevertheless, to resolve this dispute, Plaintiffs have agreed to
provide the prompts used to generate the facts set forth in the complaint. This resolution is fair.

2
 None of the limited exceptions to disclosure of Personal Information apply here. Ex. B, Privacy
Policy § 2.
                                                 5
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Dated: June 18, 2024                      Respectfully Submitted,

                                          /s/ Elana Nightingale Dawson
                                          Elana Nightingale Dawson (pro hac vice)
                                          LATHAM & WATKINS LLP
                                          555 Eleventh St., NW, Suite 1000
                                          Washington, DC 20004
                                          Telephone: (202) 637-2200
                                          Email: elana.nightingaledawson@lw.com

                                          Andrew M. Gass (SBN 259694)
                                          LATHAM & WATKINS LLP
                                          505 Montgomery Street, Suite 2000
                                          San Francisco, CA 94111
                                          Telephone: (415) 391-0600

                                          Counsel for Defendants


                                          /s/ Joseph R. Saveri
                                          Joseph R. Saveri (State Bar No. 130064)
                                          JOSEPH SAVERI LAW FIRM, LLP
                                          601 California Street, Suite 1505
                                          San Francisco, CA 94108
                                          Telephone: (415) 500-6800
                                          Facsimile: (415) 395-9940
                                          Email: jsaveri@saverilawfirm.com

                                          Counsel for Individual and Representative
                                          Plaintiffs and the Proposed Class




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  EXHIBIT A
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 1    Matthew Butterick (State Bar No. 250953)
      1920 Hillhurst Avenue, #406
 2    Los Angeles, CA 90027
      Telephone: (323) 968-2632
 3
      Facsimile: (415) 395-9940
 4    Email: mb@buttericklaw.com

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10
                                       UNITED STATES DISTRICT COURT
11
                                    NORTHERN DISTRICT OF CALIFORNIA
12
                                            SAN FRANCISCO DIVISION
13

14   IN RE OPENAI CHATGPT LITIGATION                    Master File No. 3:23-cv-03223-AMO

15   This document relates to:

16   Case No. 3:23-cv-03223-AMO                         DECLARATION OF MATTHEW
     Case No. 3:23-cv-03416-AMO                         BUTTERICK IN SUPPORT OF PARTIES’
17                                                      JOINT LETTER BRIEF REGARDING
                                                        REQUEST FOR PRODUCTION NO. 9
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30      Master File No. 3:23-cv-03223-AMO
            DECL. OF MATTHEW BUTTERICK ISO PARTIES’ JOINT LETTER BRIEF REGARDING REQUEST FOR
                                            PRODUCTION NO. 9
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 1           I, Matthew Butterick, declare as follows:

 2           1.     I am a duly licensed attorney authorized to practice in California. I am co-counsel for

 3   Plaintiffs in the above-referenced Action.

 4           2.     In or around May and June 2023, I conducted an investigation into the facts and

 5   circumstances that give rise to the above-referenced Action. Specifically, I assessed whether Defendants

 6   had committed copyright infringement by training their artificial-intelligence products on copyrighted

 7   literary works. As part of the investigation, I interrogated OpenAI’s ChatGPT product to determine

 8   whether it was capable of emitting summaries of specific copyrighted books, including works created by

 9   Plaintiffs Kadrey, Golden, Tremblay, and Silverman.

10           3.     The above-referenced investigation was done for the purpose of providing legal advice to

11   book authors whose copyrighted works I believed were illegally reproduced. The above-referenced

12   investigation was also done in preparation of drafting a complaint against Defendants, which complaint I

13   ultimately drafted and filed on behalf of the Plaintiffs.

14           I declare under penalty of perjury that the foregoing is true and correct. Executed on June 18,

15   2024.

16                                                     By:        /s/Matthew Butterick
17                                                                Matthew Butterick

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      Master File No. 3:23-cv-03223-AMO        1
30         DECL. OF MATTHEW BUTTERICK ISO PARTIES’ JOINT LETTER BRIEF REGARDING REQUEST FOR
                                           PRODUCTION NO. 9
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   EXHIBIT B
              Case 3:23-cv-03223-AMO Document 153 Filed 06/18/24 Page 11 of 20




 Privacy policy

 Updated
 April 27, 2023




 We at OpenAI OpCo, LLC (together with our affiliates, “OpenAI”, “we”, “our” or “us”) respect your
 privacy and are strongly committed to keeping secure any information we obtain from you or
 about you. This Privacy Policy describes our practices with respect to Personal Information we
 collect from or about you when you use our website and services (collectively, “Services”). This
 Privacy Policy does not apply to content that we process on behalf of customers of our
 business offerings, such as our API. Our use of that data is governed by our customer
 agreements covering access to and use of those offerings.

 For information about how we collect and use training information to develop our language
 models that power ChatGPT and other Services, and your choices with respect to that
 information, please see this help center article.




 1. Personal information we collect
 We collect information that alone or in combination with other information in our possession
 could be used to identify you (“Personal Information”) as follows:

 Personal Information You Provide: We may collect Personal Information if you create an
 account to use our Services or communicate with us as follows:

    Account Information: When you create an account with us, we will collect information
    associated with your account, including your name, contact information, account
    credentials, payment card information, and transaction history, (collectively, “Account
    Information”).
    User Content: When you use our Services, we may collect Personal Information that is
    included in the input, file uploads, or feedback that you provide to our Services (“Content”).


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    Communication Information: If you communicate with us, we may collect your name, contact
    information, and the contents of any messages you send (“Communication Information”).
    Social Media Information: We have pages on social media sites like Instagram, Facebook,
    Medium, Twitter, YouTube and LinkedIn. When you interact with our social media pages, we
    will collect Personal Information that you elect to provide to us, such as your contact details
    (collectively, “Social Information”). In addition, the companies that host our social media
    pages may provide us with aggregate information and analytics about our social media
    activity.

 Personal Information We Receive Automatically From Your Use of the Services: When you
 visit, use, and interact with the Services, we may receive the following information about your
 visit, use, or interactions (“Technical Information”):

    Log Data: Information that your browser automatically sends whenever you use our website
    (“log data”). Log data includes your Internet Protocol address, browser type and settings, the
    date and time of your request, and how you interacted with our website.
    Usage Data: We may automatically collect information about your use of the Services, such
    as the types of content that you view or engage with, the features you use and the actions
    you take, as well as your time zone, country, the dates and times of access, user agent and
    version, type of computer or mobile device, computer connection, IP address, and the like.
    Device Information: Includes name of the device, operating system, and browser you are
    using. Information collected may depend on the type of device you use and its settings.
    Cookies: We use cookies to operate and administer our Services, and improve your
    experience on it. A “cookie” is a piece of information sent to your browser by a website you
    visit. You can set your browser to accept all cookies, to reject all cookies, or to notify you
    whenever a cookie is offered so that you can decide each time whether to accept it. However,
    refusing a cookie may in some cases preclude you from using, or negatively affect the
    display or function of, a website or certain areas or features of a website. For more details on
    cookies please visit All About Cookies.
    Analytics: We may use a variety of online analytics products that use cookies to help us
    analyze how users use our Services and enhance your experience when you use the
    Services.




 2. How we use personal information
 We may use Personal Information for the following purposes:

    To provide, administer, maintain and/or analyze the Services;
    To improve our Services and conduct research;
    To communicate with you;
    To develop new programs and services;
    To prevent fraud, criminal activity, or misuses of our Services, and to ensure the security of
    our IT systems, architecture, and networks; and

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    To comply with legal obligations and legal process and to protect our rights, privacy, safety,
    or property, and/or that of our affiliates, you, or other third parties.

 Aggregated or De-Identified Information. We may aggregate or de-identify Personal
 Information and use the aggregated information to analyze the effectiveness of our Services,
 to improve and add features to our Services, to conduct research and for other similar
 purposes. In addition, from time to time, we may analyze the general behavior and
 characteristics of users of our Services and share aggregated information like general user
 statistics with third parties, publish such aggregated information or make such aggregated
 information generally available. We may collect aggregated information through the Services,
 through cookies, and through other means described in this Privacy Policy. We will maintain
 and use de-identified information in anonymous or de-identified form and we will not attempt
 to reidentify the information.

 As noted above, we may use Content you provide us to improve our Services, for example to
 train the models that power ChatGPT. See here for instructions on how you can opt out of our
 use of your Content to train our models.




 3. Disclosure of personal information
 In certain circumstances we may provide your Personal Information to third parties without
 further notice to you, unless required by the law:

    Vendors and Service Providers: To assist us in meeting business operations needs and to
    perform certain services and functions, we may provide Personal Information to vendors and
    service providers, including providers of hosting services, cloud services, and other
    information technology services providers, event management services, email
    communication software and email newsletter services, and web analytics services.
    Pursuant to our instructions, these parties will access, process, or store Personal Information
    only in the course of performing their duties to us.
    Business Transfers: If we are involved in strategic transactions, reorganization, bankruptcy,
    receivership, or transition of service to another provider (collectively a “Transaction”), your
    Personal Information and other information may be disclosed in the diligence process with
    counterparties and others assisting with the Transaction and transferred to a successor or
    affiliate as part of that Transaction along with other assets.
    Legal Requirements: If required to do so by law or in the good faith belief that such action is
    necessary to (i) comply with a legal obligation, including to meet national security or law
    enforcement requirements, (ii) protect and defend our rights or property, (iii) prevent fraud,
    (iv) act in urgent circumstances to protect the personal safety of users of the Services, or the
    public, or (v) protect against legal liability.
    Affiliates: We may disclose Personal Information to our affiliates, meaning an entity that
    controls, is controlled by, or is under common control with OpenAI. Our affiliates may use the
    Personal Information we share in a manner consistent with this Privacy Policy.



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 4. Your rights
 Depending on location, individuals in the EEA, the UK, and across the globe may have certain
 statutory rights in relation to their Personal Information. For example, you may have the right
 to:

    Access your Personal Information.
    Delete your Personal Information.
    Correct or update your Personal Information.
    Transfer your Personal Information elsewhere.
    Withdraw your consent to the processing of your Personal Information where we rely on
    consent as the legal basis for processing.
    Object to or restrict the processing of your Personal Information where we rely on legitimate
    interests as the legal basis for processing.

 You can exercise some of these rights through your OpenAI account. If you are unable to
 exercise your rights through your account, please send your request to dsar@openai.com.

 A note about accuracy: Services like ChatGPT generate responses by reading a user’s request
 and then predicting the next most likely words that might appear in response. In some cases,
 the most likely next words may not be the most factually accurate ones. For this reason, you
 should not rely on the factual accuracy of output from our models. If you notice that ChatGPT
 output contains factually inaccurate personal information about you and you would like us to
 correct the inaccuracy, you may submit a correction request to dsar@openai.com. Given the
 technical complexity of how our models work, we may not be able to correct the inaccuracy. In
 that case, you may request that we remove your personal information from ChatGPT’s output
 by filling out this form.

 For information on how to exercise your rights with respect to data we have collected from the
 internet to train our models, please see this help center article.




 5. California privacy rights
 The following table provides additional information about how we disclose Personal
 Information. You can read more about the Personal Information we collect in “Personal
 information we collect” above, how we use Personal information in “How we use personal
 information” above, and how we retain personal information in “Security and Retention” below.




  Category of Personal Information               Disclosure of Personal Information

  Identifiers, such as your contact              We disclose this information to our affiliates, vendors
  details                                        and service providers, law enforcement, and parties

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                                                 involved in Transactions.

  Commercial Information, such as                We disclose this information to our affiliates, vendors
  your transaction history                       and service providers, law enforcement, and parties
                                                 involved in Transactions.

  Network Activity Information, such             We disclose this information to our affiliates, vendors
  as Content and how you interact with           and service providers, law enforcement, and parties
  our Services                                   involved in Transactions.

  Geolocation Data                               We disclose this information to our affiliates, vendors
                                                 and service providers, law enforcement, and parties
                                                 involved in Transactions.

  Your account login credentials                 We disclose this information to our affiliates, vendors
  (Sensitive Personal Information)               and service providers, law enforcement, and parties
                                                 involved in Transactions.




 To the extent provided for by law and subject to applicable exceptions, California residents
 have the following privacy rights in relation to their Personal Information:

    The right to know information about our processing of your Personal Information, including
    the specific pieces of Personal Information that we have collected from you;
    The right to request deletion of your Personal Information;
    The right to correct your Personal Information; and
    The right to be free from discrimination relating to the exercise of any of your privacy rights.

 We don’t sell or share Personal Information as defined by the California Consumer Privacy Act,
 as amended by the California Privacy Rights Act. We also don’t process sensitive personal
 information for the purposes of inferring characteristics about a consumer.

 Exercising Your Rights. California residents can exercise their CCPA privacy rights by sending
 their request to dsar@openai.com.

 Verification. In order to protect your Personal Information from unauthorized access, change,
 or deletion, we may require you to verify your credentials before you can submit a request to
 know, correct, or delete Personal Information. If you do not have an account with us, or if we
 suspect fraudulent or malicious activity, we may ask you to provide additional Personal
 Information and proof of residency for verification. If we cannot verify your identity, we will not
 provide, correct, or delete your Personal Information.

 Authorized Agents. You may submit a rights request through an authorized agent. If you do so,
 the agent must present signed written permission to act on your behalf and you may also be
 required to independently verify your identity and submit proof of your residency with us.
 Authorized agent requests can be submitted to dsar@openai.com.


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 6. Children
 Our Service is not directed to children who are under the age of 13. OpenAI does not knowingly
 collect Personal Information from children under the age of 13. If you have reason to believe
 that a child under the age of 13 has provided Personal Information to OpenAI through the
 Service please email us at legal@openai.com. We will investigate any notification and if
 appropriate, delete the Personal Information from our systems. If you are 13 or older, but under
 18, you must have consent from your parent or guardian to use our Services.




 7. Links to other websites
 The Service may contain links to other websites not operated or controlled by OpenAI,
 including social media services (“Third Party Sites”). The information that you share with Third
 Party Sites will be governed by the specific privacy policies and terms of service of the Third
 Party Sites and not by this Privacy Policy. By providing these links we do not imply that we
 endorse or have reviewed these sites. Please contact the Third Party Sites directly for
 information on their privacy practices and policies.




 8. Security and Retention
 We implement commercially reasonable technical, administrative, and organizational
 measures to protect Personal Information both online and offline from loss, misuse, and
 unauthorized access, disclosure, alteration, or destruction. However, no Internet or email
 transmission is ever fully secure or error free. In particular, email sent to or from us may not be
 secure. Therefore, you should take special care in deciding what information you send to us via
 the Service or email. In addition, we are not responsible for circumvention of any privacy
 settings or security measures contained on the Service, or third party websites.

 We’ll retain your Personal Information for only as long as we need in order to provide our
 Service to you, or for other legitimate business purposes such as resolving disputes, safety and
 security reasons, or complying with our legal obligations. How long we retain Personal
 Information will depend on a number of factors, such as the amount, nature, and sensitivity of
 the information, the potential risk of harm from unauthorized use or disclosure, our purpose for
 processing the information, and any legal requirements.

 We may also anonymize or de-identify your Personal Information (so that it can no longer be
 associated with you) for research or statistical purposes, as described above, in which case we
 may use this information indefinitely without further notice to you.




 9. International users

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 By using our Service, you understand and acknowledge that your Personal Information will be
 transferred from your location to our facilities and servers in the United States.

 For EEA, UK or Swiss users:

 Legal Basis for Processing. Our legal bases for processing your Personal Information include:

    Performance of a contract with you when we provide and maintain our Services. When we
    process Account Information, Content, and Technical Information solely to provide our
    Services to you, this information is necessary to be able to provide our Services. If you do not
    provide this information, we may not be able to provide our Services to you.
    Our legitimate interests in protecting our Services from abuse, fraud, or security risks, or in
    developing, improving, or promoting our Services, including when we train our models. This
    may include the processing of Account Information, Content, Social Information, and
    Technical Information. See here for instructions on how you can opt out of our use of your
    information to train our models.
    Your consent when we ask for your consent to process your Personal Information for a
    specific purpose that we communicate to you. You have the right to withdraw your consent
    at any time.
    Compliance with our legal obligations when we use your Personal Information to comply with
    applicable law or when we protect our or our affiliates’, users’, or third parties’ rights, safety,
    and property.

 EEA and UK Representative. We’ve appointed VeraSafe as our representative in the EEA and
 UK for data protection matters. You can contact VeraSafe in matters related to Personal
 Information processing using this contact form. Alternatively:

    For users in the EEA, you can contact VeraSafe at VeraSafe Ireland Ltd, Unit 3D North Point
    House, North Point Business Park, New Mallow Road, Cork T23AT2P, Ireland.
    For users in the UK, you can contact VeraSafe at VeraSafe United Kingdom Ltd., 37 Albert
    Embankment, London SE1 7TL, United Kingdom.

 If you feel we have not adequately addressed an issue, you have the right to lodge a complaint
 with your local supervisory authority.

 Data Transfers. Where required, we will use appropriate safeguards for transferring Personal
 Information outside of the EEA, Switzerland, and the UK. We will only transfer Personal
 Information pursuant to a legally valid transfer mechanism.

 Data Controller. For the purposes of the UK and EU General Data Protection Regulation 2018,
 our data controller is OpenAI OpCo, LLC at 3180 18th Street, San Francisco, CA, United States.




 10. Changes to the privacy policy
 We may change this Privacy Policy at any time. When we do, we will post an updated version on
 this page, unless another type of notice is required by applicable law. By continuing to use our

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 Service or providing us with Personal Information after we have posted an updated Privacy
 Policy, or notified you by other means, you consent to the revised Privacy Policy.




 11. How to contact us
 Please contact support if you have any questions or concerns not already addressed in this
 Privacy Policy.




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                                          ATTESTATION

       I, Elana Nightingale Dawson, am the ECF user whose user ID and password authorized the

filing of this document and enclosed exhibits. Under Civil L.R. 5-1(i)(3), I attest that all signatories

to this document and Exhibit A have concurred in their filing.

Dated: June 18, 2024                                   /s/ Elana Nightingale Dawson
